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EXHIBIT
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UNCERTIFIED TRANSCRIPTION OF AUDIO RECORDING
PRODUCED BY PLAINTIFF DURING DISCOVERY

PREPARED BY SILLS CUMMIS & GROSS ADMINISTRATIVE STAFF MEMBER

Plaintiff's Meeting with Martin Mariano
January 15, 2015

Mariano: You got your review, I know you’re upset. I know you had reached out to Johan. I just
wanted to have a chance to talk to you to talk it through because we haven’t had a chance to sit
down and talk. So tell me what’s going on.

Braunstein: I’m a very cards-on-the-table type of girl.
Mariano: I know you are, you’re a straight shooter.

Braunstein: Thank you. I have never in my career, regardless of what I’ve done, ever had a bad
review. And this is crushing. Now, let me say two things, in case anyone thinks I can’t handle
criticism, my college experience was California Institute of the Arts, it was a critical school.
(Goes into further details regarding this). I can handle constructive criticism. There’s nothing
that Johan said in that meeting that either rung true or was constructive criticism. He didn’t give
me anything to go on and to say things like — he said I’m great with the guests, but said that I
don’t have respect for others, I’m not professional, I don’t have quality of work, I’m not
productive, I don’t have a positive attitude, I’m not cooperative, I don’t accept responsibility — I
mean me of all people? Hell my emails alone could squash that. I accept responsibility, but I’m
also making other people accountable. That I’m not reliable and I don’t have leadership. He
keeps saying that I haven’t contributed to anything of how we do things upstairs, and that’s not
true. I have pointed out numerous things we do. They make it really clear that he doesn’t value
me, he doesn’t respect me, and this tells me that he doesn’t even want me here. And for him to
not even give me any real critique — I don’t even know what to say anymore.

Mariano: First of all, I don’t even like this review because it’s yes or no. There’s no yes, or
exceeds, or could use improvement — so there’s no gray in this thing. It’s either, you do it or you
don’t. So, I’m not even really a fan of this thing. But take it in context, it’s only the first, 60-day
review of what’s going on. | think, we all recognize, you know how to make a drink, you know
how to take care of guests — that’s not the problem. There’s been some things that have
happened, obviously, there was the issue with you and Edmund. There’s plenty of, I think, you
were both in a situation that was created for you, and I don’t know how either one of you could
have gotten in or out of that, and that’s kind of an unfortunate situation created by us learning
how to do this bar. I will say there’s a feeling out there that you’re difficult to work with, and
it’s coming from not just the managers. I want to be really candid with you because I want you
to know, because I want you to fix it.

Braunstein: Mm hm.
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Mariano: Some of the people think that you don’t want to be cooperative and work with them
when it comes to the bar. Let’s just take the cocktail server side of it. They are like, you know,
sometimes we'll be in the weeds and Tina won’t help the bartender, and she’s just chatting with
her people at the bar. There is no awareness around that the person that’s there might be
drowning. And I’m like, okay, someone should be telling you this on a daily basis and not
waiting for a review, to say that you are, whatever the hell it is, that you are uncooperative or you
don’t have a positive attitude or you’re not productive. So, I’m telling you this because I know
that you’re a great bartender and that you can help. In the beginning, I met with Roberto,
because Roberto came in after his review, and I said, Roberto I want to be honest with you, in the
beginning we had concerns about you. We had concerns that you weren’t fast enough, you may
not be able to handle the pressure. I said, but we see that you’re progressing and you’re coming
along. I know that you’re very exacting but at that time we were concerned. What’s going to
happen? I said that Tina and James wanted to commit to try to make you successful. But I said
we didn’t know if you were going to make it or not. So I said, you will keep working on that, be
successful. And he said I feel I’m doing a really good job at the service bar but I don’t feel
support from Tina or, usually James is positioned in the front, sort of as the — whatever. And if
that works for you guys as a team, that’s awesome. I think that’s where some of the perception
is coming from. The bartenders, where they feel like that you’re so engaged with your customers
that you are not aware of what’s happening with the other thing, that you could be better at that.
And [ don’t know whether they have said that to you at all. And the servers are picking up on it
too. So I don’t know if people are talking to say that Tina isn't a team player, Tina doesn’t
support us. Tina only cares about her customers and having a good time. And so, I think that
that’s where all of this is probably coming from.

Braunstein: Mm hm.

Mariano: Professionalism? I don’t know what he means by that. You know, respect for others.
There’s been people that have told me that whenever they ruffle your feathers, you get really
irritated and you’re short with them. Johan knows all of this. But he should be, the managers
should be giving you feedback in the moment when things are happening, because if that’s
happening, and it’s either the way you — I’m trying to explain this ... sometimes when you get
into a relationship and there’s a way of speaking and making things happen and it works, it’s
kind of like the way we talk. I remember when I was a server, there’s some people that react to
calmness and there’s some people that react to — hey, move it! And they react and things get
done. And after a while you realize that you’ve built this relationship where you are actually rude
and disrespectful to people. It could be that. It could be a misperception. I really wanted to
meet with you to be really candid with you. And I want her to be aware that there’s these
misperceptions out there. And hopefully with some tweaks, hopefully this all changes. I think a
lot of those things in the job performance piece is being fueled by people thinking that you’re
difficult. That’s what I think. And remember, this is only a 60-day review.

Braunstein: | mean, I thought I was going in a really [inaudible] conversation like we’re having.
Instead, he completely crushed me with this without giving me any critique. And I do think it’s a
misperception because I am really easy to get along in a lot of ways. And James could say
anything he wants to back there. And it’s almost like, he can say it. But if I say it, it’s like all of
a sudden I’m being difficult or I’m being rude.
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Mariano: No, and that’s ... maybe we need to have bartender meeting to talk about that. To say,
hey, I’m not James and I’m not Roberto the young kid on the block. And I’m not whatever role
you’re playing. But everything needs to be professional. Everyone needs to be above board.
Everyone needs to also — Roberto is being service bar. He should be engaging the guests while
he’s making drinks. It all needs to be worked—

Braunstein: It’s something, I’m sorry, it’s something that we brought up in the bar meeting that
we had a few weeks ago. We did talk about a few things. And I pointed out to Johan, because |
volunteered to do service a one day a week, and I’m told I do a great job, and the girls also said I
— with the speed and everything. That said, I’ve pointed out that the girls are very rude and
snappish, especially when it’s Eddie and Roberto. I’m sure this was a whole doubt with the
whole tip situation. I’ve brought it up and again, with Johan, the girls, they could, they walk on
water.

Mariano: And I remember in the beginning that that was an issue because they were really
anxious and they were getting really snappy.

Braunstein: But they still are. And again, it’s like nothing is done about it but here I am. And
I’m a strong woman, and yeah when people say stuff to me, I’m going to be always professional.
But you better believe that there’s going to be an edge in my voice. And I know that. And I own
that. P’'m 20 years in this industry, I’m a native New Yorker. I’ve been through it, and not for
nothing, people like, the Dynex [phonetic] group love me with a passion because I told them
what they needed to hear, not what they wanted to hear. But in this situation, in this house here,
I’m not respected, I’m not valued for it, and obviously —

Mariano: So how do we change that? Do you think we should all have a meeting and we should
all be candid with each other and we should say — be professional and say — hey, let’s talk to
each other? We’re a team, we need to work together. Maybe there’s going to be times, you
need to know this about me. When the shit hits the fan, this is how I talk and this is how I --.
Don’t take it personal but just understand, I mean business.

You know, when I was at the Ritz Carlton, I had a bunch of managers who were all great. But
there were some of them, I just would lose my temper with them. It was so frustrating. And one
of them actually spoke French. And he was mostly French. And he kept saying, it’s a cultural
thing. He just doesn’t have a sense of urgency. And I was trying to justify and have it make
sense in my mind. So I brought in an outside person to kind of work with us. And she did this
whole, I don’t know if you’ve heard of Myers Briggs. It’s like a personality test and you fall into
one of four categories. What you learn from it is that if you’re one of these categories and you’ re
in a different category, they teach you how to communicate with each other because they can
understand what you need and they can understand what I need. And once we went through this
whole exercise, I was like — oh my God, I understand why he would get the way he would get in
certain circumstances, and then I would know — he is going through this and here’s what I would
have to do to get through to him. ... To this day, we are so tight and we would laugh about the
times when we would drive each other crazy. It’s an extensive exercise but what it taught me
that when you’re working with a team of people with different dynamics, everyone doesn’t talk
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to each other the same way and there could be misperceptions or you identify the person and say,
hey you know what, if you need to change the way that you communicate with people, because it
doesn’t work,

I worked with a kid once that was a server who was on the cold side, he used to drive me crazy
and all we would do is argue back and forth with how we communicated with each other. And J
went to myself that I had to figure out a different way to communicate with this guy because it’s
not working, all we do is come to work and fight. And it was miserable. Once I got to know
him and we talked about it and we could make commitments to each other ~— like hey, if I get
anxious you need to calm me down so I don’t get to that point. We actually became friends.
And we’re both different-- I’m white, he’s black. I’m older, he’s younger. You know, we had
nothing in common with any kind of taste, but we just sat down and said, how are we going to
make this work because you’re driving me crazy and I’m driving you crazy?

Maybe we need to have a department meeting where we workshop with each other and really get
to know each other. There’s going to be days where you’re going to be a B-I-T-C-H, and there’s
going to be days where they’re going to be anxious and flip out and you need to be able to calm
them down and get them what they need and not us taking things personally so that they don’t
reflect in an image of you that may not be fully accurate.

Braunstein: Yeah and my only thing is, and this may sound a little obnoxious, but I’m just going
to own it, this image has worked my whole career for 20 years. Like I said, all chefs, owners,
investors, love me because they know I have their back and the best interest of the establishment.
And I haven't been jumping into service for a couple of reasons and even James said this, again
in our bar meeting, was those bartenders need to learn how to get weeded to figure out how to do
it. It’s just hard, we’ve all been through it in our careers. I feel that I do jump in, I do
communicate with them and ask them if they need something. I’ve spent a lot of times having to
run off the bar — regardless of whether it’s to get glassware, snacks, etc., so I’m not on the bar so
much, But I find issues with Johan for two things. First of all he said that I disappear from the
bar, and no one knew where I was. And that’s absolutely not true. And it’s never been said to
me until the review. And even James squashed that by saying she always communicates that
she’s stepping off the bar even if it’s just for bar snacks. But we were in this room with you and
James and Johan and Trevor was in the corner when there was some issue with Johan a while
ago and I feel that again I’m back here still. Now in that meeting he spoke a mile a minute, he
was a bit nervous and he said there were issues with you and it got better —

Mariano: Because I felt that when we left that meeting, I was like okay, it seems like whatever
was there has kind of calmed down, and everything seems to be okay because we all left kind of
like, okay, everything is settled and it’s done.

Braunstein: Yeah. Right.

Mariano: And actually, I will say, Johan came to me a few days afterwards and said I think
things are working out.

Braunstein: Mm hm.
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Mariano: And then he says to me, I don’t think things are working out with Tina. She’s not
really responding. She is kind of back to her old ways. He should be telling you, hey, or finding
out what’s causing it. And again, it was a bad time of figuring shit out and I think now that we’re
at least a little bit slower we can now continue to keep working to maneuver what we need so we
can fine tune for those busy times.

Braunstein: And also, let me say, James also at times pulls me from jumping into service for a
couple of reasons. And then getting weeded to take care of the bar and the customers, first and
foremost, but also for the fact, that if the girls are going to be that snappish with that situation,
there’s almost a bit of - the heck with them.

Mariano: We need to be able to figure that out.

Braunstein: Then the girls again, they’re not held accountable and that is a huge issue.
Mariano: We need to address that.

Braunstein: Like I said, they get away with everything.

Mariano: And also, with the reviews, I told Johan, listen, don’t come to me with valentines,
because I know that these bartenders are pretty good bartenders. You need to be honest, tell them
the stuff they need to work on. If you don’t think it’s a full thing, mark it no, but let them know,
here’s what we need to work on. I think maybe me and the bartenders we should probably have
a meeting first to talk a lot of stuff through and probably maybe Amin. I don’t know if you knew
that Johan was leaving. Johan’s father is very ill right now.

Braunstein: I’m sorry to hear that.

Mariano: It’s terrible. His mother needs to go home for a while. I was going to send him home
for a while. But he doesn’t know how long that will be, so he’s decided to leave. So he is
leaving in a couple of weeks. So maybe me and Amin can have all of you guys talk about your
concerns. And we’ll meet with the girls. And then we need to have a department meeting where
we get this all on the board, because I think it’s fair for you to say, hey, you know what ladies,
when this is happening, I’m not going to respond to that. This is what I need you to do, take a
deep breath, relax, say, Tina, I’m in the shits and this here’s what I need. And I’Il work for you.
But if you come screaming and yelling, you’re pissing me off, and I’m not going to want to help
you because I don’t like what’s happening at that time.

Braunstein: It’s like the chef, and I’m not comparing myself to chefs, but I’ve learned so much
from them. And when they’re behind that line, regardless if they’re the expediter and actually
cooking, and you really need something, cut the BS, tell me exactly what you need, and go and
we’ll deal with the other crap later. And that’s what I’m used to. This directness. Meanwhile
here, there’s a lot of attitude from the girls and there’s just whatever it was with Johan. And
yeah, for me even to tell him, I need the bullet points. And this guy was like, I’m not giving
them to you. I didn’t know what to do or say about that. I need that feedback. And yeah, I am
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going to have an edge. It’s me, I own it. But the bottom line is I know I’m doing a damn good
job for the house, and I want this to be a success and yet I get this absolutely crushing review.

Mariano: Did the bartenders talk to you at all about their reviews or their feedback. Was there
similar feelings?

Braunstein: A little bit. Eddie has seen everything. He has seen the emails, he’s seen this. James
heard about it from me. He didn’t see it yet because he was away. I’ll show him everything later.
It’s again for us to be on the same page and for them to know what’s going on. Eddie just made a
comment, which was odd, because we discussed something in our bar meeting. When you’re
doing service, the two people that are sitting in front of you, the guests — 101, 102 — try to take
care of them. If you can’t, because you are in the weeds or whatever, at least acknowledge them
and in some way engage them, get the other bartender to take care of them. But that said, just
acknowledge them. But Johan supposedly said to Eddie when he’s doing service, he needs to
work the bar more and Eddie was even like, wait a second, that’s first of all, not what we said in
the meeting, and when I have 5 tickets and 15 drinks, I can’t do that sort of thing. So there was a
bit of disconnect.

Mariano: Focus on the service and assist with the fun part when you can. And you know —

Braunstein: You have to realize to spend time with the guest, it has to do with building the
clientele because even the hotel guest —

Mariano: You want them to go to your bar, and not the other bar, and you want them to tell their
friends.

Braunstein: They can go to the other bars, just keep them in the house. That’s how I feel. But
yeah, really for them to know that we’re here, people in the neighborhood, people that work here
or live here, we need to start really building that clientele, and that’s something I told James. We
have to concentrate on finding them, because people that can afford to be here, the $25 drinks
has to be here. It can be anywhere in this neighborhood but here.

Mariano: Right. So maybe you could help me identify what would be the best day we could all
meet. Talk to them, and then I can make myself available, and I can bring you guys in early and
we spend a couple hours just talking about, or an hour, whatever you need, about what’s working
and what’s not working, what’s frustrating, what’s preventing you from getting “yes’s. Or I can
give you feedback to say, here’s what I’m hearing. And we can talk about it and then we can
meet with the ladies too and then we just bring everyone together. Because I want to go into a
meeting knowing how you feel, and go into a meeting knowing how they feel. And this way I
can arbitrate it better rather than going into a meeting where everybody is just kind of like --

Braunstein: Oh, those are horrible.
Mariano: | want to know what’s happening. so I can get a sense of what’s happening and try to

help us bring it all together. Because it’s new, I love all the people that work up there. You guys,
I mean, you went through this crazy season. You stuck it out. You are fighters. And I like that.
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For instance, Cecilia, when Cecelia first started, we were just like, is she going to make it? She’s
so cranky. You know? But I will say, a lot of the stuff - and I said, is there validity in what she’s
complaining about? And that’s when we were saying, is she right? And we found out that she
was right about a lot of things. And you know what, she’s a damn good server. People like her. I
get compliments about her service. A lady called me up the other day —

Braunstein: I saw that.

Mariano: And she’s no nonsense, she’s got an edge, she’s got, you know, I’m not afraid of
people like that if they perform. You know, people like you or Cecilia, you know, people that — I
was like that, when I was a server. My boss said, you need to go into management, you’re a pain
in the ass. I said, what do you mean? He said, don’t get me wrong. But every time you come
into my office, my shoulders go up, because I know you are here to tell me about something
that’s not right. And he said you keep holding up a mirror to me about things that are not right,
but you do help me to, you come with solutions. So he goes, you’re coming to tell me something,
but you’re much more solutions-oriented than some other people, and you care, and you’re a
leader, and you represent, you know, I was like the delegate in a non-union hotel. But he said,
you know, I think at this point in your career, because I was getting really frustrated, I think you
need to become a manager, because I need you on my side to help me with things, because you
are just a pain in the ass,

Braunstein: Right

Mariano: And so, and that’s how I ended up doing what I’m doing. But I started off as a server.
So I get what you’re going through. And I want to be able to make it better because I want
everybody, you know, as I always say, I just want you to come to work, make money, be happy.
go home.

Braunstein: Right

Mariano: At the end of the day, nobody is here to fight or to bring somebody down. No person
would want to come into a situation where you’re going to say, I’m going to work today and
cause chaos. You know, unless you’re like really demented.

Braunstein: [Laughs]

Mariano: Because it could be a good job where you’re making money, and you should be able to
be happy. And if you’re not happy, then don’t do this kind of work.

Braunstein: Mm hm. Well I agree. I mean, even with all the lunatics here, and oh my God, you
have more than your fair share. Holy crap. You have the lunatics here.

Mariano: Well you know the whole AM crowd.

Braunstein: No, I mean, everybody, it’s not even them. We are finding our peace with them. It’s
like you said, you are navigating people. You are getting to figure them out. I’m actually
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enjoying it here, to be honest. That’s why I’m trying to make this work. And why this was so
crushing. This came out of left field. Even Eddie said to me ~ he said none of this to you. The
few points he made, I never heard that you disappear or that you’re not accountable. I was told I
don’t have a sense of urgency.

Mariano: And maybe you are leaving the bar, maybe we just need to say — guys I’m stepping
over the bar, or I need to go to the ladies’ room and I’m going to be gone for 20 minutes,
whatever --

Braunstein: I do that ~

Mariano: I got to go pick up wine somewhere and you’re not going to see me. As long as we’re
letting everybody know.

Braunstein: I do that, and James even said to him, Tina always tells us when she is stepping off
the bar. It’s like it wasn’t even true what he was saying. I like you’re with us sitting down. |
can almost speak for James, I will presume on Monday when he’s off, as long as he’s not busy,
he’d probably think that was the best day because all of us are here.

Mariano: Okay, Mondays are good for me, so you know —

Braunstein: That would probably work for us, and since I do have you here, everyone has asked
quickly to speak to you about what’s going on with getting us PR, because we have not been in
Time Out NY, NY Magazine or the NY Times.

Mariano: So here’s what’s happened. We had 2 PR companies — 1 of them was called Key
Group that basically has done all of the F&B. They’ve worked with Jeffrey and all of the people
like that. And they are phenomenal. And then in house, the Plaza used to have a company,
DKC. They normally used to do all the publicity for the hotel. When Jeffrey came in, he
brought in Key Group to represent him and the publicity and these two people never got along.
The Key Group people don’t want to play nice in the sandbox, they don’t want to play with DEC
and they don’t want to work under the full Plaza umbrella. So there’s a change that’s being
made.

[Martin answers phone call]

So, there’s a change. So what’s happening is that Cynthia who is our director of sales and
marketing has decided to take the PR in-house. So basically what they are doing is that, we got
rid of DKC, We kind of told us what we needed them to do for us in-house, and they resigned.
So we are taking our publicity in-house and we feel that in-house we can work better with Key
Group. In my opinion, Key Group has been so focused on promoting Jeffrey, the brand of the
Zakarian brand, and tying it to the Palm Court, and I was just actually with the owners and said,
look, we have to change the direction fast. It’s been great for Jeffrey and his brand, but the
publicity needs to be about the Palm Court and then we loop Jeffrey into the thing. Because no
one’s coming in to eat Jefitirey’s food, or drink Jeffrey’s drink. They want to know that the Palm
Court has a new bar and it’s really sexy. And we need to start getting people and groups and
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looking for people out there in the age range, financial bracket that we want to attract and start
getting people to bring groups of people here so that they start to see that this space is open. I
said it was great during the holidays because it hit a lot of scenes, hit a lot of sins, I said but there
are couple of areas (1) breakfast is just hotel guests, we don’t want to be a hotel. We want to be
a power breakfast businessman’s place to come. We need to promote that. Afternoon teas
during the holidays was great. 350 people a day, blah blah blah, the overflow goes to the bar. I
go, now, it’s like crickets and tumbleweeds. Ergo, we are back to doing the [inaudible] although
I will say that the numbers are getting better than last year, and right after Christmas is a hard
time to judge. Biggest concern is the nightlife. If we’re not letting kids in after 6, let’s get it
done. If we want to get some sexy people certain [inaudible], go to the stores and get them free
fucking drinks and get them in here because we need people to know what’s happening and we
need to do it quick. Ralph Lauren just opened up....

Braunstein: I know, I know, I love him.

Mariano: A friend of mine ... This kid I know, so funny. So proud of this kid. I found this kid
in Miami Beach, Florida, he was a pool boy. Long story short, I ended up getting him a job at
the Ritz Carlton in Boston, because I knew the general manager. He had a girlfriend ...

Braunstein: A friend of mine lives there.

Mariano: Oh yeah? Wow. And then, I brought him to NY, I opened a restaurant with him. I put
him in charge of bars. I’ve kind of been his mentor. And then when I moved to Philadelphia, he
called me, wanted to do something different. So he took a job with the Peninsula. I come back to
NY, we get together, everything is great. Long story short, he goes into Ralph Lauren’s store
and they ended up coffee bar I guess, and he goes and orders an espresso and says some guy
comes up to him — hey man, didn’t you used to work at the Ritz, but now you’re out the
Peninsula. My friend was creeped out by it. He goes — I walk by the Peninsula every day, and I
see the way you work, and I’d love to buy you a coffee. They have a nice conversation, then the
guy goes away. My friend, Johnny, says, and then I see him, sitting at a table with another guy
and Ralph Lauren walks in. And they are talking, and the other guy gets up from the table and
comes and says, hey, my friend tells me you are really great with guests. Would you be
interested in coming to work for us? And my friend is tall, Milano, good looking boy, so he’s
like, yeah. He’s the assistant general manager of the Ralph Lauren store.

Braunstein: Nice

Mariano: So he came to the hotel to look for me. He goes on and on, and says | got this
tremendous job and I’m making a shitload of money, and it’s all because I met you at a pool in
Miami Beach.

Braunstein: That’s so funny.

Mariano: It’s just the funniest thing. So he sent me the link of the opening, and I said, oh my
God. So I can’t wait to go. But we need to get that kind of crowd in here.
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Braunstein: Are we going to have an issue, upstairs with the mixology, if we get some cocktail
competition win? Is it going to be an issue with PR? If someone just needs to run in here, do a
quick Gonzo photo of us behind the bar with the winning drink and run the hell out — does it
have to go through channels here.

Mariano: We always have to let them know what’s happening. And photography needs to be
okay’d by the hotel. But if you see there’s an opportunity to be in these things. We can say —
hey Key Group, we’ve got Tina on the bar, she’s got her winning a drink, and we’re going to
take a photograph, and they are just coming to help us coordinate it, that’s it. If you know that
there are things out there, bring it to us.

Braunstein: I know I’m going to be jumping back into competitions too.

Mariano: Okay, that’s great. And maybe what we need to start doing is profiling you guys, not
Jeffrey. The bartenders. Because at the end of the day, customers aren’t going to see Jeffrey.
Jeffrey’s a celebrity. We should be talking about the people who are going to be at the bar, or
the maitre d’, or whatever, and just, you’re right, we need to be in Time Out, NY, all these hot
magazines. Wall Street Journal did a whole thing on Jeffrey, but we want these people to come
up here and drink. Let’s do pictures of the bar, let’s show them what it’s like. You know, with
sexy people, and let’s get people up here.

Braunstein: Yeah. I helped open City Winery which is one of the things not on my resume
because my resume is so long, I can’t tell you everything or present it that way, and I had a guy
come in and I start chatting with him. He’s in a suit and an IWC 100k watch. What brought you
in? Urban Daddy. I didn’t know what Urban Daddy was. He said I live right around here. He
walked out after buying that glass of wine for me. I told him about making wine in this
establishment. He spent $30k within an hour and walked out. He decided he was going to make
wine with them. $30k just like that. Just from Urban Daddy.

Mariano: Yeah, all those great social media sites that we should be promoting. We should go on
and follow all — where are all these cocktail bars, from the Pouring Ribbons and Milk & Honey,
where are they positioned? We need to get in there fast. Because we need those people. And
then all of the rich people will all follow. They’re going to go to a place where they feel like it’s
happening. They aren’t going to go to a place where kids are drinking hot chocolate in the
corner.

Braunstein: Oh my God. No.

Mariano: That’s what we don’t want. And then you guys need to critique them on the cocktails.
And just look at it. And if things aren’t working and it’s not what people want ... maybe part of
this meeting needs to be about all of this stuff. And the other part is about ideas, cocktails, what’s
working in that respect, and what do you think would be an opportunity for us to get people in
here.

Braunstein: Which is always the case, because guests like chefs. Bartenders, like chefs, love
knowing that you created the drink. Like I said, if we could just concentrate on some

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competitions right now, and start winning some. Or even getting in first of all, that gets the
excitement going. That’s what we all want.

Mariano: | know, exactly. Thanks for your time. I’m sorry that this was like, you know, trying
to get this together. But if you could talk to them for me and find out if Monday or the following
Monday works, let’s just try to get it on the board and get it moving.

Braunstein: Okay, great. Thank you Marty.

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